            Case 2:16-cr-00100-RSL         Document 157    Filed 03/20/17     Page 1 of 1




 1                                                            The Honorable Robert S. Lasnik
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                        NO. CR16-100 (RSL)
11
                             Plaintiff
                                                       ORDER TO SEAL
12
                            v.
13
      BINGHAM FOX,
14
                            Defendant.
15
16
            Having read the Government’s “Response to Defendant’s Objections & Motion to
17
     Compel Use Immunity” in the above-captioned case, which was filed under seal, and the
18
19 Government=s Motion to Seal requesting that its Notice be allowed to remain under seal,
20       It is hereby ORDERED that the Government’s “Response to Defendant’s

21 Objections and Motion to Compel Use Immunity” in this matter shall remain sealed.
22
23          DATED this 20th day of March, 2017.
24
25                                             A
26                                             Robert S. Lasnik
                                               United States District Judge
27
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     ORDER TO SEAL
     Bingham Fox/CR16-100 (RSL) - Page 1
